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TODD KIM, Assistant Attorney General
JOSEPH H. KIM, Trial Attorney
Natural Resources Section
Environment & Natural Resources Division
United States Department of Justice
P.O. Box 7611
Washington, D.C. 20044-7611
(202) 305-0207

TRINA A. HIGGINS, United States Attorney (7349)
MELINA SHIRALDI, Assistant United States Attorney (13110)
MICHAEL D. SMITH, Special Assistant United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, UT 84111
(801) 524-5682

Attorneys for Defendant United States of America


                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


  KANE COUNTY, UTAH (2), (3), and (4), a Utah         DEFENDANT UNITED STATES’
  political subdivision; GARFIELD COUNTY (1),         PROPOSED SCHEDULE FOR THE
  UTAH, a Utah political subdivision, and STATE       COMPLETION OF THE FIRST
  OF UTAH,                                            BELLWETHER

         Plaintiffs (or Plaintiff-Intervenor, as to   Case Nos. 2:10-cv-01073-CW;
         State of Utah in Kane County (2)),                     2:11-cv-1045-CW

  v.                                                  Judge Clark Waddoups

  UNITED STATES OF AMERICA,

         Defendant,

  and

  SOUTHERN UTAH WILDERNESS
  ALLIANCE, et al.,

         Defendant-Intervenors.
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       Pursuant to the Orders to Set Briefing and Hearing Schedule [Garfield (1) ECF No. 342;

Kane (2) ECF No. 802], the United States has conferred with the parties and attempted to reach

an agreement on a proposed “schedule for summary judgment concerning title on the two

additional Bellwether Roads, namely K6000 House Valley Rock Road [sic] and G9000 Hole-in-

the-Rock Road,” as well as “when they will be prepared to present oral argument on the issue of

title for the seventeen Bellwether Roads.” The parties have been unable to reach an agreement

and, thus, the United States presents its own schedule here.

       Although the Court’s Orders require “a schedule for summary judgment concerning title

on the two additional Bellwether Roads,” as well as information about “when [the parties] will

be prepared to present oral argument on the issue of title for the seventeen Bellwether Roads,”

Garfield (1) ECF No. 342; Kane (2) ECF No. 802 (emphasis added), the primary dispute

between the parties appears to be whether these Orders should be interpreted to be limited to

questions of ownership, or whether scope is also included. But this Court has already resolved

this question, stating that “ownership and scope are the two sides of the same coin that comprises

title. Thus, when this court refers to title, it encompasses both elements.” Kane (2) ECF No. 727

at 15-16.

       The United States understands Plaintiffs’ proposed schedule to be limited to questions of

ownership, with no schedule proposed for the overall resolution of these Bellwether claims. The

United States objects to this limitation. There is no need for Plaintiffs to further delay this first

Bellwether process. Indeed, stopping at ownership, without any schedule for fully resolving title

(including scope), would be inconsistent with the principles guiding this Bellwether process.

The goal of the Bellwether process is to reach “findings and judgments” that “will then become

bases for a global resolution of all of the pending road cases.” Kane (2) ECF No. 238 at 2. To



                                                  -2-
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achieve that goal, it is important to allow for any appeals to play out. See id. at 7-8. Which

means that the Quiet Title Act claims for the sixteen remaining Bellwether claims1 need to reach

an appealable judgment. Thus, unless the threshold issue of ownership is resolved against

Plaintiffs, the Court will need to resolve scope in addition to ownership.

          Notably, “[s]cope, in th[is] context,” is not necessarily limited to “defining the length and

width of the right-of-way.” Cf. Kane (2) ECF No. 727 at 16. Indeed, as the recent evidentiary

hearing for the K6000 claim illustrates, questions of scope can include (for example) just what

activities may be done as maintenance (and thus undertaken as of right), and what activities are

an improvement (that may only be done if both reasonable and necessary, after consultation with

the land manager, who may also need to ensure that alternatives are considered).

          Once findings and appealable judgments are issued that fully resolve the Quiet Title Act

claims for these Bellwether claims, the losing party will have the option to pursue appellate

relief. The resulting legal principles will then streamline the resolution of any and all similar

pending claims. To the extent that Plaintiffs’ proposed schedule unnecessarily delays this

process, the United States objects. Conversely, the United States would have no objection to the

proposed summary judgment schedule if it includes all aspects of title (including scope),2

provided that it is also modified as necessary to include the participation of Intervenor-

Defendants on the matter of scope.



          1
                 One Bellwether claim (K1410) has been dismissed. Kane (2) ECF No. 792 at 67-
69, 79.
          2
              Specifically, the United States understands Plaintiffs to propose the following
summary judgment “briefing schedule for title to the K6000 House Rock Valley Road and
G9000 Hole in the Rock Road[:]
      State and County Motions – on or before October 11, 202[4]
      United States’ Oppositions – on or before January 10, 2025
      State and County Replies – on or before January 31, 2025.”
                                                   -3-
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       Although the United States understands the Tenth Circuit to have ruled that Intervenor-

Defendants are entitled to participate as of right, in some as yet undefined manner, on matters of

scope, Intervenor-Defendants have requested that the following statement be included in the

United States’s filing:

                The question of SUWA’s participation should be addressed and resolved
       by the court, including participation rights in the Motion for Summary Judgment
       on the K6000 and the G9000, prior to final adjudication of the remaining 14
       original Bellwether claims (excluding the K1410, which has been dismissed). As
       the Court’s August 13, 2024 Order made clear, now that the Tenth Circuit has
       denied en banc review of its March 4th, 2024 opinion regarding SUWA’s
       intervention status, SUWA must “have the opportunity to introduce evidence and
       participate on the issue of scope for all Bellwether roads.” ECF 795 at 3 n.2.

                Once the Court determines SUWA’s right to participate in the Motion for
       Summary Judgment on the K6000 and G9000, SUWA requests to file its
       Opposition on or before January 24, 2025 (or 14 days after the United States’
       deadline).

                SUWA further reserves all rights with regard to its participation in this
       case as an intervenor as of right, including but not limited to the right to file a
       motion for a new trial or to otherwise present evidence and make arguments
       regarding the scope of the 14 original Bellwether roads and the K6000 and
       G9000.

       Regarding oral argument on the issue of title for the surviving Bellwether Roads, the

United States understands Plaintiffs to propose “oral argument regarding title to the seventeen

Bellwether Roads as soon as October 28, 2024.” The United States objects to scheduling oral

argument before summary judgment briefing is completed.3 Although Plaintiffs have not yet



       3
               In any event, due to scheduling conflicts, the United States would not be available
for oral argument from October 28, 2024, until November 12, 2024.
                                                 -4-
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proposed this, the United States would also object to any attempt to bifurcate these Bellwether

claims further. Plaintiffs sought to belatedly add the additional Bellwether claims now requiring

summary judgment briefing, and should not be heard to complain that their actions are now

delaying the resolution of the remaining original Bellwether claims.


       Respectfully submitted this 6th day of September, 2024,

                                             TODD KIM
                                             Assistant Attorney General

                                              /s/ Joseph H. Kim
                                             JOSEPH H. KIM, Trial Attorney
                                             Natural Resources Section
                                             Environment and Natural Resources Division
                                             United States Department of Justice
                                             P.O. Box 7611
                                             Washington, D.C. 20044-7611
                                             (202) 305-0207

                                             TRINA A. HIGGINS (7349)
                                             United States Attorney
                                             District of Utah
                                             MELINA SHIRALDI (13110)
                                             Assistant U.S. Attorney
                                             MICHAEL D. SMITH
                                             Special Assistant U.S. Attorney
                                             111 South Main Street, Suite 1800
                                             Salt Lake City, UT 84111
                                             (801) 524-5682

                                             Attorneys for Defendant United States of America

Of Counsel:
Cameron B. Johnson
Office of the Regional Solicitor
U.S. Department of the Interior




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